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"^AO 98A (12/03) Includes violations of Conditions of Release as well as non-appearance as grounds for forfeiture.



                                       UNITED STATES DISTRICT COURT
                       NORTHERN District of GEORGIA


          UNITED STATES OF AMERICA
                               V.

                                                                                  APPEARANCE AND COMPLIANCE BOND
Ronald Loehrke


                         Defendant
                                                                                  Case                  L21-MJ-1143-LTW



          Non-surety: I, the undersigned defendant acknowledge that I and my .. .
           Surety: We, the undersigned, jointly and severally acknowledge that we and our ...
personal representatives Jointly and severally, are bound to pay to the United States of America the sum of
$ 10.000.00 COR) _ , and there has been deposited in the Registry of the Court the sum of

$ _ in cash or _ (describe other security.)
           The conditions of this bond are that the defendant, Ronald Loehrke
                                                                                                                     (Name)
is to (1) appear before this court and at such other places as the defendant may be required to appear, in accordance with
any and all orders and directions relating to the defendant's appearance in this case, including appearance for violation of
a condition of defendant's release as may be ordered or notified by this court or any other United States District Court to
which the defendant may be held to answer or the cause transferred; (2) comply with all conditions of release imposed by
the court, and (3) abide by any judgment entered in such matter by surrendering to serve any sentence imposed and obeying
any order or direction in connection with such judgment.


           It is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which shall
continue until such time as the undersigned are exonerated.


           If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
bond, then this bond is to be void, but if the defendant fails to obey or perform any of these conditions, payment of the
amount of this bond shall be due forthwith. Forfeiture of this bond for any breach of its conditions may be declared by any
United States District Court having cognizance of the above entitled matter at the time of such breach and if the bond is
forfeited and if the forfeiture is not set aside or remitted, judgment, may be entered upon motion in such United States
District Court against each debtor jointly and severally for the amount above stated, together with interest and costs, and
execution may be issued and payment secured as provided by the Federal Rules of Criminal Procedure and any other laws
of the United States.


           This bond is signed on 12/03/2021                                     at 75 Ted Turner Drive S.W. Atlanta, GA 30303
                                                           Date                                                         Place


Defendant                                                                   Address        <SAl^Fsv<-Le- GA JoSoO?
                                                                                           CITY , STATE, AND ZIP CODE ONLY
Surety                                                                      Address

Surety                                                                      Address

Signed and acknowledged before me on                              12/03/2021


                                                                                                                        Judge/Clerk


           Approved
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<^AO 199C (Rev. 12/03) Advice of Penalties ...                                                             Page          -ofj_         Pages

                                                   Advice of Penalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a temi of imprisonment, a fme,
or both.
         The commission of a Federal offense while on pretrial release will result in an additional sentence of a term ofunprisonment of
of not more than ten years, if the offense is a felony; or a term ofunprisonment of not more than one year, if the offense is a misdemeanor.
This sentence shall be in addition to any other sentence.
       Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or mformant; to retaliate or attempt to retaliate agamst a witness, victun or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, mformant, or officer of the court. The penalties for tampermg, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be unposed. If you are convicted of:
      (1) an offense punishable by death, life unprisonment, or unprisonment for a term of fifteen years or more, you shall be fined
           not more than $250,000 or imprisoned for not more than 10 years, or both;
      (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fmed not
           more than $250,000 or imprisoned for not more than five years, or both;
      (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor, you shall be fined not more than $100,000 or unprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.


                                                     Acknowledgment of Defendant

        I acknowledge that I am the defendant m this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence unposed. I am aware of the penalties and sanctions set forth
above.




                                                                                                  Signature of Defendant

                                                                              xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                                                                                                          Address



                                                                                   CITY/STATE/ZIP CODE TELEPHONE



                                                  Directions to United States Marshal

( N><J The defendant is ORDERED released after processing.
( •)N The United States marshal is ORDERED to keep the defendant in custody until notifie4jby the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for release^ The defendan^hall be produced before the appropriate
        juc^ge at Ijhe time and pl^ce specified, if still in custody. ^i^'^-^^. /<< ^/

Date:                                    ^ ^^r .-^j^^ y^w-^
                                                                       L
                                                                                            Nam^ hod Tttlo/of Judicial Officer /

                     DISTRIBUTION: COURT DEFENDANT PRETR1AL SERVICE U.S. ATTORNEY U.S. MARSHAL
